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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff,

                                                              Case Number 07-20625-BC
v.                                                            Honorable Thomas L. Ludington

D-16 MICHAEL BAILEY,

                  Defendant.
______________________________________ /


               ORDER GRANTING DEFENDANT’S MOTION TO SUPPRESS
                      EVIDENCE AND CANCELING HEARING

         On August 20, 2008, a first superseding indictment [Dkt. # 104] was filed against Defendant

Michael Bailey and eighteen co-defendants. The indictment charges each defendant with a

conspiracy to possess with intent to distribute and to distribute ecstasy in violation of 21 U.S.C. §§

846 and 841(a)(1). Now before the Court is Defendant Bailey’s motion to suppress evidence and

request for evidentiary hearing [Dkt. # 240]. For the reasons stated below, Defendant’s motion to

suppress will be granted; an evidentiary hearing is not necessary to grant the relief that Defendant

seeks.

         Defendant contends that alleged ecstasy pills seized by the police from the locked glove

compartment of his vehicle subsequent to a traffic stop and his arrest on December 22, 2006, should

be suppressed pursuant to Arizona v. Gant, - - - U.S. - - - -, 129 S. Ct. 1710 (2009). In Gant, the

Court held that “[p]olice may search a vehicle incident to a recent occupant’s arrest only if the

arrestee is within reaching distance of the passenger compartment at the time of the search or it is

reasonable to believe the vehicle contains evidence of the offense of arrest.” 129 S. Ct. at 1723. In
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this case, Defendant alleges that he was falsely arrested for operating a vehicle without a valid

driver’s license on his person. He alleges that when the officers conducted a search of his vehicle,

he had already been placed under arrest and was seated in an officer’s patrol vehicle.

       On June 10, 2009, the government filed a response [Dkt. # 263]. The government concedes

that the search of Defendant’s vehicle in this case does not meet the standard set forth in Gant. For

that reason, the government concurs with Defendant’s motion to suppress the ecstasy pills recovered

from the glove compartment of Defendant’s vehicle on December 22, 2006. Based on the

government’s concurrence in the motion, an evidentiary hearing is not necessary and the hearing

scheduled for July 20, 2009, will be canceled. See E.D. Mich. LR 7.1(e)(2).

       Accordingly, it is ORDERED that Defendant’s motion to suppress evidence [Dkt. # 240]

is GRANTED.

       It is further ORDERED that the hearing scheduled for July 20, 2009, is CANCELED.


                                                        s/Thomas L. Ludington
                                                        THOMAS L. LUDINGTON
                                                        United States District Judge

Dated: June 16, 2009

                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on June 16, 2009.

                                                           s/Tracy A. Jacobs
                                                           TRACY A. JACOBS




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